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         United States Court of Appeals
              for the Fifth Circuit
                                ___________

                                 No. 23-30573
                                ___________

United States of America,

                                                             Plaintiff—Appellee,

                                     versus

Johnson Moore,

                                         Defendant—Appellant.
                ______________________________

                Appeal from the United States District Court
                   for the Western District of Louisiana
                         USDC No. 2:20-CR-137-4
                ______________________________

To: Ms. Elizabeth Cary Dougherty,

             NOTICE AND ORDER TO SHOW CAUSE

       Under 5th Cir. R. R. 42.3.1.1, this case may be dismissed 15 days
from the date of this order for your failure to make financial arrangements
with the court reporter under Fed. R. App. P. 10(b)(4). You are also
directed to show cause in writing within 15 days why we should not impose
disciplinary action against you for failing to fulfill your responsibility to make
financial arrangements with the court reporter. If you remedy the default,
the appeal will not be dismissed but the clerk may refer the matter to the
court for disciplinary action. However, if "...the default is not remedied ...
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the clerk may enter an order dismissing the appeal for want of prosecution
.... The clerk shall refer to the court the matter of disciplinary action against
the attorney." (emphasis added)
                                             LYLE W. CAYCE
                                             Clerk of the United States Court
                                             of Appeals for the Fifth Circuit




                                   By: _________________________
                                          Allison G. Lopez, Deputy Clerk

                     ENTERED AT THE DIRECTION OF THE COURT



cc:    Ms. Camille Ann Domingue
       Ms. Deidre D. Juranka




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